Case 1:18-cv-00124-GJQ-RSK ECF No. 73-3 filed 10/17/18 PageID.532 Page 1 of 41




Exhibit C
10/20/2015 Motion for Declaratory and Injunctive Relief
filed by Plaintiff Rudd in the State Court Proceedings
Plaintiff Rudd was the Respondent in these proceedings.
    This includes Exhibits (A-F) & a Brief
    which were all filed together in the State Court Proceedings
    State Court Exhibit A: Proposed Findings of Fact and Conclusions of Law
    State Court Exhibit B: Proposed Order to remove LEIN Entry
    State Court Exhibit C: Excerpts of November 26, 2013 Hearing Transcript
    State Court Exhibit D: Text Message Rudd Received While Coaching Soccer, July 2015
    State Court Exhibit E: Excerpts of January 23, 2014 Hearing Transcript
    State Court Exhibit F: 8/31/15 Automated Letter from MSP re: Stalking/PPO Entry
Declaration in Support of Plaintiff’s 10/16/18 Repsonsive Brief (ECF No. 72)
Opposing Def. Rule 12(c) Motions (ECF Nos. 53, 58, 60)
Case 1:18-cv-00124-GJQ-RSK ECF No. 73-3 filed 10/17/18 PageID.533 Page 2 of 41



                                STATE OF MICHIGAN
         IN THE   14TH   CIRCUIT COURT FOR THE COUNTY OF MUSKEGON


 MELISSA L. MEYERS,
              Petitioner,
                                                     HON. GREGORY C. PITTMAN
 -vs-                                                FILE NO: 13-257503-PH

 DANIEL WILLIAM RUDD,
              Respondent.

 _______________________________                     _______________________
 Michelle M. McLean (P71393)                         Daniel William Rudd
 Bolhouse, Baar & Hofstee, PC                        In Pro Per
 Attorneys for Petitioner                            Respondent
 3996 Chicago Drive SW                               201 S Lake Ave.
 Grandville, MI 49418                                Spring Lake, MI 49456
 (616) 531-7711                                      (231-557-2532


   10/20/2015 RESPONDENT’S MOTION FOR JUDGEMENT DECLARING THE
    EXPIRATION OF PETITIONER’S 2013 PERSONAL PROTECTION ORDER



1) Along with his supporting Brief, Respondent (Daniel Rudd) now states and affirms

   the following in his motion for declaratory relief:

                                  Summary Statement

2) Petitioner (Melissa Meyers) has recently claimed that this Court intended to extend

   her PPO beyond the original term. This is a misrepresentation of this Court’s

   rulings. However, even if Petitioner’s PPO remained active, this would not warrant

   Petitioner’s actions as they are described in the Petitioner’s recent court documents.

3) Petitioner is misusing legal process to needlessly interfere and disrupt Respondent’s

   legitimate and necessary parenting activities.

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               Background Facts: Ruling on Motion To Terminate PPO

4) Petitioner was granted an ex parte Personal Protection Order (PPO) on July 23, 2013

   by Judge Marietti.

5) During a hearing on Respondent’s Motion To Terminate PPO (November 26, 2013)

   this Court made the necessary determinations regarding the two legal questions

   which were properly before the Court.

      "The petitioner bears the burden of establishing reasonable cause for issuance of
      a PPO . . . and of establishing a justification for the continuance of a PPO at a
      hearing on the respondent's motion to terminate the PPO[.]"
                                     Hayford, 279 Mich App at 326 (emphasis added).

6) Respondent notes that when a “continuance” is granted as described above, this

   means that the PPO will remain in effect until it expires. An “extension” may be

   granted by the Court pursuant to MCR 3.707. But in the present case, no extension

   was ever requested.



       Determination 1: Was there a reasonable cause to issue the ex parte PPO?

7) This Court determined that the ex parte allegations provided a sufficient basis, and

   then specifically affirmed the prior decision to set the term of the PPO at

   approximately six months.

      THE COURT: This order was signed by Judge Marietti in my absence, and he
      being an incredibly wise and reasoned jurist, signed the order based on what was
      alleged. I also note that he made the term of the order end as of February 1st,
      2014, and again, I think being very wise and very reasoned in his approach to
      this thing. See Exhibit C attached hereto.




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          Determination 2: Was there justification for the PPO to continue?

8) This Court indicated that the PPO would only continue as a prophylactic measure

   while an agreement was reached regarding a professional referral in the related

   custody proceedings.

          THE COURT: “So my intention is to resolve this in these hearings coming up,
          which means this PPO is going to end when we get to that point. All right?
          Clear? Come ready to resolve this. Okay?

          …But as far as this order, I think you both got a little of what you needed
          here. It's continuing, but it's not going to continue as long as it was
          proscribed to continue."

          See Exhibit C. (page 94, lines 4-14) emphasis added.

9) This Court reiterated its intent to end the PPO prior to the expiration date several

   times over and specifically declared a point in time when this would occur.

10) This Court addressed Petitioner directly to confirm her understanding that the PPO

   would be terminated early, after an upcoming custody hearing which was

   scheduled within the following two weeks. Petitioner indicated that she did

   understand the Court’s intent. See Exhibit C. (page 93, lines 2-16)

11) Having already placed determinations on the record to justify the early termination

   of Petitioner’s PPO, this Court directed Petitioner to draft an order with language to

   effectuate the early termination; without having to conduct an additional hearing.

      THE COURT: Well, let me give you a little guidance. The order should indicate
      that the protection order will remain in effect until further order of the Court.
      Okay? That gives me the discretion and authority to end it earlier, based on the
      agreements and the resolutions that we reach here in the custody, parenting time
      stuff."
                                     See Exhibit C (pg. 94 lines 19-25) emphasis added.



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                    Custody Agreements and Resolutions Reached

12) On December 10, 2013 a hearing was held in the related custody proceedings and

   the Rudd v Averill parties were referred to Randy Flood of the Fountain Hill Center.

13) The record in the custody proceedings clearly indicates that this referral was exactly

   the type of “resolution” which this Court was referring to during the November 26,

   2013 hearing, when this Court discussed its intention to “resolve these child

   parenting issues” during 1 or 2 brief hearings. See Exhibit C (page 93, line 8)

          January 23, 2014 Hearing on Petitioner’s Motion for Attorney Fees

14) After the Court granted Attorney Meyer’s motion to refer the related custody issues

   to Randy Flood at the Fountain Hill Center, Attorney Meyers (Petitioner) sued

   Respondent for legal fees and costs regarding her PPO litigation.

15) Petitioner claimed that Respondent’s motion to terminate was frivolous and

   intended only to harass Petitioner. This Court disagreed.

16) On January 23, 2014, this Court heard arguments, denied Petitioner’s motion for

   costs and placed the supporting factual findings and legal conclusions on the record.

             THE COURT: Well, I think by virtue of the decision that this Court
             reached, and whether you agree or not, that's certainly your prerogative,
             but by virtue of simply the idea that the term of the order was modified
             indicates that there was some arguable merit.
             That I made a decision based upon that merit to shorten the term of the
             PPO's existence… Mr. Rudd did receive some relief as he was seeking
             here. There was a modification.
                                             See Exhibit D (page 12) emphasis added.




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17) Immediately thereafter, this Court specifically advised Petitioner that no challenges

   had been raised to this finding in Respondent’s favor,

             “Of course you have the right to disagree that I was correct in finding that

             merit, but I have not heard that argument.”       See Exhibit D (page 12)

18) Clearly, this would have been the time for Attorney Meyers to articulate this

   interpretation of the December 17, 2013 Order, thereby proving that Petitioner had

   received a favorable ruling and not Respondent.

                          Expiration of Petitioner’s 2013 PPO

19) Due to financial constraints, Respondent did not motion the Court for an order

   terminating the PPO prior to the February 1, 2014 expiration date (which was only

   weeks away). However, no extension had been requested, no extension had been

   granted and no amended order had disturbed the terms of the original order

   (including the expiration date).

20) Therefore, Petitioner’s Ex Parte PPO expired upon its own terms on February 1,

   2014. On that same authority, the entry in the LEIN database was modified to show

   that the PPO was no longer active.

           Petitioner’s Present Allegations of Willful Unconsented Contact

21) Respondent has, for his own reasons, diligently attempted to avoid any contact or

   proximity to Petitioner and intends to do this into the foreseeable future.

22) However, Petitioner has not demonstrated a similar motivation and has not made

   good faith efforts to prevent contact from occurring.




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23) When Petitioner alone has had knowledge of potential scheduling conflicts,

   Petitioner has chosen to withhold this information instead of communicating

   appropriately with Respondent’s attorney and working out a solution in advance.

24) The July 25, 2015 “incident” described by Petitioner’s filings serves as a good

   example. However, it should be noted that there was no contact or proximity.

   Respondent never even saw Petitioner (or any member of her family) and therefore

   draws primarily from the accounts in Petitioner’s pleadings and affidavits.

25) Because of her personal and professional relationships to the Rudd children’s

   mother, Petitioner was aware that the Rudd children have played soccer for the

   West Michigan Storm for years.

26) But when Petitioner recently transferred her own children into that same soccer

   club, she did not make any effort to notify Respondent’s attorney, or to discuss any

   potential scheduling conflicts in advance.

27) Petitioner indicates that she brought her children to the West Michigan Storm Sand

   Soccer Tournament at Pere Marquette Beach on July 25, 2015.

28) More than an hour after her own children had finished their games, Petitioner

   attended the Rudd children’s game with her client, Andrea Averill.

29) Petitioner’s children were not scheduled to play again for more than an hour and

   there were a number of open fields available nearby, but Petitioner chose to remain

   on the sidelines of the Rudd children’s game for her own reasons.

30) Petitioner indicates that she became upset when she saw that Respondent was

   coaching the Rudd children’s soccer team.

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31) Respondent was busy preparing his team and was at least 75 feet away (on opposite

   side of the field) in an area reserved for the coach and the players. Respondent had

   absolutely no knowledge of Petitioner’s presence.

32) However, Petitioner still felt that Respondent’s mere presence at his children’s game

   was a deliberate act of unconsented contact and/or harassment directed at her.

33) Petitioner indicated to her client (Andrea Averill) that she intended to call the police

   and report that Respondent had “violated” her 2013 PPO.

34) But Petitioner’s client (the Rudd children’s mother) did not want the Rudd

   children’s father to be arrested while he was coaching the Rudd children’s team.

35) As an alternative to police action, Mrs. Averill agreed to send Respondent a text

   message which stated only: “Just so you know, Melissa and her family are here.

   You may want to keep your distance.” See Exhibit E

36) This message, received just minutes before the start of the game, was the only

   indication that Respondent ever received suggesting the possibility of Attorney

   Meyers being present.

37) With no way of knowing why Attorney Meyers would be present and no way of

   knowing WHERE on this crowded beach Attorney Meyers could be, Respondent

   determined that the best way to avoid any possible contact would be to remain

   where he was (in the area reserved for coaches and players) until the game was over.

38) Once Respondent completed his coaching duties, he was careful to stay in open

   areas and left the beach as quickly as it was possible to do so without risking a

   situation that would be harmful or humiliating for his children.

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39) Attorney Meyers does not offer any explanation for why she did not simply walk a

   short distance down the beach to the next open field and wait until the time when

   her own children were scheduled to play. This would have allowed all the children

   present to enjoy their soccer games in peace.

40) Petitioner claims to have suffered significant distress, but her filings also indicate

   that Petitioner chose to remain there on the sidelines for the entirety of the Rudd

   children’s game.

41) Attorney Meyers has repeatedly and dramatically declared that she does not want

   her children to be anywhere near Respondent. So it is difficult to understand why

   Respondent insisted that her children also remain on the sidelines to watch the

   Rudd children play their entire game.

42) Even if Petitioner believed that her 2013 PPO was still active, the situation which she

   describes would not constitute a violation of that order, would not justify police

   involvement, and would not require the humiliation of the Rudd children by

   disrupting (possibly ending) their soccer game.

     Petitioner’s Attempts To Secure A “Stipulated” Extension Of Her 2013 PPO

43) On or about this same time, Petitioner was advised that her 2013 PPO had expired

   from the LEIN database about 18 months ago.

44) Petitioner, who is no stranger to PPO proceedings, could have easily petitioned the

   Court for a PPO. It is not a burdensome process.

45) But instead Petitioner attempted to coerce an agreement through a lengthy e-mail to

   Respondent’s attorney.      See Petitioner’s 08/12/2015 Exhibit 8.

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 46) This e-mail was not an attempt to collaboratively identify any potential scheduling

    conflicts and coordinate a reasonable solution for the benefit of the children.

 47) Instead, Petitioner threatened police involvement and demanded that Respondent’s

    participation in his children’s events must be severely limited or non-existent

    whenever there is “even a remote possibility” that Petitioner might be present on a

    nearby field.

               “Mr. Rudd [must] make himself as inconspicuous as possible such that he
               is not within my eyesight at any games or tournaments… AND leave
               immediately after the game ends, or simply not attend the same during
               Mrs. Averill’s parenting time.”

 48) Petitioner also requires that Respondent arrange for “someone else” to bring his

    children to their practices AND also waive his right to due process by subjecting

    himself to the stress and stigma of a non-expiring “stalking” PPO.

 49) Petitioner concludes this e-mail by reiterating her thinly veiled threat of adverse

    action from the Norton Shores Police Department.

                “…and I certainly do not want my family subjected to police
               involvement, however, if we do not figure out some sort of solution
               immediately, I am afraid that is exactly what will occur.”

 50) Petitioner has clearly demonstrated, and continues to demonstrate that she is not

    interested in any reasonable “solution” that would simply allow the parties to

    maintain an acceptable distance without disturbing the children’s activities.




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                  Petitioner’s Actions Contradict Her Claims of Distress

 51) Respondent’s has consistently demonstrated that he truly does not want contact

    with Petitioner. Respondent has not ever approached Petitioner. Respondent has

    not ever interfered with Petitioner’s parenting activities.

 52) It is Petitioner who has inexplicably maintained her involvement in Rudd v Averill

    long after new counsel was hired with a clear acknowledgement that Attorney

    Meyers was too emotionally involved in the case.

 53) It is Petitioner who has garnered numerous admonishments from this Court during

    the numerous occasions when she has prematurely summoned Respondent into her

    presence at the courthouse.

 54) It was Petitioner who recently transferred her own children into the same soccer

    club that Respondent’s children have played in for years and chose to withhold this

    information from anyone who might warn Respondent.

 55) It was Petitioner who felt compelled to watch Respondent’s children play their

    entire game when her children were not playing.

 56) It is Petitioner who has remained unwilling to proactively identify scheduling

    conflicts and prevent the possibility of future contact even when specifically requested

    by Respondent’s counsel.

 57) It is Petitioner who instead directs her energy toward disrupting Respondent’s

    activities with his children and facilitating adverse police action against Respondent.




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            Petitioner’s Motions For An Amended PPO (Without A Hearing)

 58) On July 30, 2015 Petitioner motioned this Court to enter a Nunc Pro Tunc order,

    without a hearing, so that the Norton Shores Police Department would be

    authorized to reactivate Petitioner’s PPO in the LEIN database.

 59) Petitioner’s motion states that the actual intention and effect of the December 17,

    2013 order was to extend her PPO more than three times the original term, only to

    expire upon Petitioner’s withdrawl from related custody proceedings.

 60) Petitioner sets aside the rulings of this Court as expressed consistently throughout

    the record, and seizes upon an isolated interpretation of a single phrase in the

    December 17, 2013 temporary order.

 61) However, this interpretation would result in fatal jurisdictional and procedural

    defect (a fact which Petitioner has noted in her own pleadings).

 62) Respondent argues that this Court did not abandon the parties to speculate as to the

    Court’s intention regarding the phrase Petitioner now misconstrues. As noted

    above, this Court made its intent plainly clear. (bottom of page 3 #8)

 63) Respondent’s previous Attorney noted these defects in her August 5, 2015

    “Response and Objection To Petitioner’s Motion For Nunc Pro Tunc Order…”

 64) Petitioner’s August 12, 2015 Responsive Pleading did not cure these defects, but

    instead raised a large number of unsupported and irrelevant allegations against

    Respondent.




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                   Petitioner Seeks Relief In A More Favorable Venue

 65) As of August 28, 2015, this Court had not granted Petitioner’s requests for an order

    which would properly authorize an entry in the LEIN database. The matter was set

    to be resolved by this Court during a hearing on September 8, 2015.

 66) With this knowledge, Attorney Melissa Meyers went directly to the Norton Shores

    Police Department (August 28, 2015) and presented her case to a non-lawyer

    employee who was subordinate to Melissa Meyer’s husband.

 67) Though Petitioner’s recent pleadings before this Court clearly acknowledged that

    the December 17, 2013 written order did not authorize an entry in the LEIN

    database, Petitioner persuaded the Norton Shores Police Department of the exact

    opposite.

 68) Petitioner instructed the Norton Shores Police Department to alter the LEIN

    database so that the PPO was active again, and the Norton Shores Police

    Department complied.

 69) A few days later, Petitioner withdrew her motion to “bring PPO into compliance

    with MCR 3.706” and cancelled the September 8, 2015 hearing.

 70) Generally, a Petitioner is eager to provide notice when a PPO has issued, in hopes of

    preventing unwanted contact. However, Petitioner did not notify Respondent’s

    attorney that the 2013 PPO was once again active in the LEIN database, and did not

    indicate any reason for withdrawing her motion.




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 71) Respondent remained entirely unaware of these actions until he received an

    automated mailing from the Michigan State Police on September 10, 2015. The letter

    stated a “Stalking” PPO had been entered by the Norton Shores Police Department

    on August 28, 2015 “as ordered by the issuing court.” See Exhibit F.

 72) Petitioner’s request for such an order was denied. The August 28, 2015 entry in the

    LEIN database was not properly authorized and should be removed.

                               Basis for Respondent’s Relief

 73) Petitioner has not asserted any legal or factual basis to warrant the extreme

    injunctive relief which she has claimed for herself by circumventing this Court’s

    rightful jurisdiction.

 74) This Court clearly ruled that such relief was not warranted in this case.

 75) While Respondent will continue to avoid any contact with or proximity to

    Petitioner, Respondent should not be subjected to the stress and stigma of a “non-

    expiring” PPO without any due process of law.

 76) Respondent and his children should not be subjected to needless disruptions of

    their legitimate activities in public places whenever Petitioner chooses to appear and

    place herself in proximity to Respondent.

 77) Petitioner’s continuing threats of adverse police action and her deliberate efforts to

    effectuate the same (without good cause) have continued to create a substantial

    hardship for Respondent and for his children.

 78) Petitioner’s actions, as described in her own court documents demonstrate an

    alarming indifference toward the welfare of the Rudd children and a disregard for

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      the objectives of her client, Andrea Averill, in meeting the objectives that this Court

      has placed before her.

   79) Respondent, Daniel Rudd, seeks relief from these harms in the form a declaratory

      Judgment and has attached Proposed Findings of Fact and Conclusions of Law for

      this Court's consideration. See Exhibit B.

                          RESPONDENTS PRAYER FOR RELIEF

   Respondent now respectfully petitions this Court for the following relief:
          a. If it pleases the Court, enter the attached Order REMOVAL OF ENTRY

              FROM LEIN (SC AO Order MC 239), instructing the Norton Shores Police

              Department to remove the entry which they improperly entered on August

              28,2015. See Exhibit A

          b. Conduct a hearing and issue a ruling pursuant to MCR 2.605 declaring the

              rights and relations of the parties as determined by this Court. Respondent

              respectfully submits proposed Findings Fact & Conclusions of Law for this

             Court's consideration. See Exhibit B

          c. Alternatively, issue any other order, ruling, or determination whereby this

             controversy may be resolved.

          d. Issue any other relief that this Court deems just.

                                                                                                |

   Date: Y>\3* 2 ° \ \ R e s p e c t f u l l y S u b m i t t e d , \ ) \ ) ( y \ \ l L ~ ^ J

                                                        Daniel William Rudd "
                                                        Respondent, In Pro Per


                                          pg 14 of 14
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                        Exhibit A
         This is an Exhibit which was attached to the 10/20/15 State Court Filing
                     In 13-257503-PH - Muskegon County Circuit Court
          Case 1:18-cv-00124-GJQ-RSK ECFOriginal
                                         No. 73-3- Courtfiled 10/17/18 PageID.548    Page
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                                                                                                   court
                                                              1st copy - for LEIN entry                         3rd copy - Tickler file
  Approved, SCAO                                                                                                OSM CODE: RMV
        STATE OF MICHIGAN                                                                                             CASE NO.
                JUDICIAL DISTRICT
           14th JUDICIAL CIRCUIT                   REMOVAL OF ENTRY FROM LEIN                       Meyers -vs- Rudd
       Muskegon COUNTY PROBATE                                                                          13-257503 PH
ORI                                 Court address                                                                                 Court telephone no.
MI-
                                   990 Terrace Street, Muskegon, MI 49442                                                    (231) 724-6251
Effective date of order        Expiration date of order        Agency file no.
 10/20/2015                    10/20/2015

                                                                                 Defendant/Juvenile/Respondent name, address, and telephone no.
         TO:    Law enforcement agency and address
                                                                                 Daniel William Rudd
           Norton Shores Police Department                                       201 S Lake Avenue
           4814 Henry Street                                                     Spring Lake, Mi 49456
           Norton Shores, MI 49441
                                                                                 (231) 557-2532
           Phone: 231-733-2691      Fax:231-798-1968                             Date of birth
                                                                                 09/28/1976




IT IS ORDERED:

1. The conditions requiring LEIN entry in this case or matter no longer exist.

2. The record of this entry shall be removed immediately from Law Enforcement Information Network (LEIN) files.




Date                                                                        Judge/District court magistrate                                   Bar no.


To the law enforcement agency:

Immediately after receiving this form, remove entry in this case or matter from Law Enforcement Information Network (LEIN) files,
complete the certification, and return the 2nd copy to the court.

                                                          CERTIFICATION OF REMOVAL

I certify that the LEIN entry in this case or matter has been removed from LEIN files.


Date                                                          Signature of law enforcement representative




MC 239 (3/06)    REMOVAL OF ENTRY FROM LEIN                                                                                  MCL 764.15b, MCL 765.6b
Case 1:18-cv-00124-GJQ-RSK ECF No. 73-3 filed 10/17/18 PageID.549 Page 18 of 41




                       Exhibit B
          This is an Exhibit which was attached to the 10/20/15 State Court Filing
                      In 13-257503-PH - Muskegon County Circuit Court
Case 1:18-cv-00124-GJQ-RSK ECF No. 73-3 filed 10/17/18 PageID.550 Page 19 of 41

PROPOSED FINDINGS OF FACT AND CONCLUSIONS OF LAW
                                STATE OF MICHIGAN
         IN THE   14TH   CIRCUIT COURT FOR THE COUNTY OF MUSKEGON

  MELISSA L. MEYERS,
               Petitioner,
  -vs-                                        HON. GREGORY C. PITTMAN
                                              FILE NO: 13-257503-PH
  DANIEL WILLIAM RUDD,
               Respondent.

  _______________________________             _______________________
  Michelle M. McLean (P71393)                 Daniel William Rudd
  Bolhouse, Baar & Hofstee, PC                In Pro Per
  Attorneys for Petitioner                    Respondent
  3996 Chicago Drive SW                       201 S Lake Ave.
  Grandville, MI 49418                        Spring Lake, MI 49456
  (616) 531-7711                              (231-557-2532


                        (RESPONDENT’S PROPOSED)
                FINDINGS OF FACT AND CONCLUSIONS OF LAW

        At a session of said Court held in the courthouse in Muskegon, Michigan

       on__________________, 2015; with the Hon. Gregory C. Pittman presiding.


  Respondent having petitioned the Court for declaratory relief pursuant to MCR 2.605,

    this Court being fully advised in the premise, this Court finds and declares that:


    1) On November 26, 2015 this Court issued a ruling regarding the ex parte PPO

       which had been granted to Melissa Meyers (Petitioner) on July 23, 2013.


    2) This Court determined, upon the merits, that the ex parte PPO would be allowed

       to continue for a brief period of time, but that it should not be allowed to

       continue for as long as it was proscribed to continue.


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 PROPOSED FINDINGS OF FACT AND CONCLUSIONS OF LAW
    3) This Court did not order or instruct that Petitioner’s PPO would be extended

       beyond the February 1, 2014 expiration date; or that it would continue for as long

       as Petitioner represented her client in the related custody proceedings.


    4) The December 17, 2013 ORDER REGARDING MOTION TO TERMINATE PPO,

       did not disturb any of the terms of the original PPO, but only allowed those same

       terms to “remain in full force and effect” until the order expired, or until this

       Court issued an order to end it earlier.


    5) The July 23, 2013 EX PARTE PERSONAL PROTECTION ORDER, which was

       granted to Melissa Meyers and against Daniel W. Rudd, did expire upon the

       authority of its own terms on February 1, 2014.


    6) Respondent may peacefully conduct his legitimate affairs in public places

       without interference from Petitioner. Even if Petitioner appears in such a place

       or makes her presence known, Respondent has an equal right to peacefully and

       independently conduct his own legitimate activities apart from Petitioner and

       without fear of adverse actions.


 IT IS SO ORDERED.

 Date: _____________________                             ______________________________
                                                         Honorable Gregory C. Pittman
                                                         Circuit Court Judge




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                       Exhibit C
           This is an Exhibit which was attached to the 10/20/15 State Court Filing
                       In 13-257503-PH - Muskegon County Circuit Court
        Case 1:18-cv-00124-GJQ-RSK ECF No. 73-3 filed 10/17/18 PageID.553 Page 22 of 41




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                       Exhibit D
         This is an Exhibit which was attached to the 10/20/15 State Court Filing
                     In 13-257503-PH - Muskegon County Circuit Court
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                        Screenshot Exported From Daniel Rudd’s phone 10/20/2015

                        Text Message From Andrea Averill – 231-557-2532

                        I swear and affirm this is true and accurate as presented.




                        Daniel W. Rudd
Case 1:18-cv-00124-GJQ-RSK ECF No. 73-3 filed 10/17/18 PageID.563 Page 32 of 41




                       Exhibit E
            This is an Exhibit which was attached to the 10/20/15 State Court Filing
                        In 13-257503-PH - Muskegon County Circuit Court
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Case 1:18-cv-00124-GJQ-RSK ECF No. 73-3 filed 10/17/18 PageID.567 Page 36 of 41




                         Exhibit F
         This is an Exhibit which was attached to the 10/20/15 State Court Filing
                     In 13-257503-PH - Muskegon County Circuit Court
 Case 1:18-cv-00124-GJQ-RSK ECF No. 73-3       filed 10/17/18 PageID.568 Page 37 of 41
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                                                 State Of Michigan
                                       DEPARTMENT OF STATE POLICE
G—                                                    Lans.no                                             D,RECT°R

   August 31, 2015


   DANIEL WILLIAM RUDD
   201 S LAKE AVE
   SPRING LAKE, Ml 49456




   SUBJECT:         Order/Disposition: STALKING PERSONAL PROTECTION
                    Entered on: 08/28/2015
                    Entered by: Norton Shores Police Dept
                    Court issued: 14TH CIRCUIT COURT MUSKEGON

   This correspondence is being sent to you as required by Michigan Compiled Laws Annotated
   28.422b. This letter does not imply any attempt to purchase or obtain a license to carry a pistol, but
   serves as information only.

     On the date listed above, an order or disposition was entered into the Law Enforcement Information
     Network (LEIN) as ordered by the issuing court. The issuance ofthis order or disposition may prohibit
   you from obtaining a license to purchase a pistol if you chose to do so and shall prohibit you from
     obtaining a license to carry a pistol concealed should you intend to do so. The order issued by the
     court may contain additional firearm restrictions that are not reflected in this notice.
     If you wish to contest orquestion the appropriateness of this order you must contact the court that
     issued the order or disposition (see above). If you have any questions regarding which court issued
     the order or disposition, you may also contact the "Entered By" agency also shown above.
     If you are not the person identified in the court order or disposition, or you believe an inaccuracy in
     the LEIN entry exists, you may request the Michigan State Police amend the inaccuracy or delete this
     order by providing a written request and supporting documentation, along with a copy ofthis letter, to
     your nearest State Police Post. For a listing of State Police Post locations, please visit
     http://www.michigan.gov/rnspposts.

     If you have general questions related to this notification, please contact the Criminal Justice
     Information Center at (517) 241-0600.

     Sincerely,




     Michigan State Police
     Criminal Justice Information Center




      MICHIGAN STATE POLICE HEADQUARTERS •333 SOUTH GRAND AVENUE • P.O.BOX 30634 •LANSING, MICHIGAN 48909
                                            www.michigan.gov/msp • (517)241-0600
Case 1:18-cv-00124-GJQ-RSK ECF No. 73-3 filed 10/17/18 PageID.569 Page 38 of 41



                                     STATE OF MICHIGAN
           IN THE      14TH   CIRCUIT COURT FOR THE COUNTY OF MUSKEGON

  MELISSA L. MEYERS,
               Petitioner,
                                                            HON. GREGORY C. PITTMAN
  -vs-                                                      FILE NO: 13-257503-PH

  DANIEL WILLIAM RUDD,
                   Respondent.
  _______________________________                           _______________________
  Michelle M. McLean (P71393)                               Daniel William Rudd
  Bolhouse, Baar & Hofstee, PC                              In Pro Per
  Attorneys for Petitioner                                  Respondent
  3996 Chicago Drive SW                                     201 S Lake Ave.
  Grandville, MI 49418                                      Spring Lake, MI 49456
  (616) 531-7711                                            (231-557-2532

  10/19/2015 RESPONDENT’S BRIEF IN SUPPORT OF JUDGEMENT DECLARING
  THE EXPIRATION OF PETITIONER’S 2013 PERSONAL PROTECTION ORDER

    Respondent filed his Motion for a Declaratory Judgment on 10/20/2015. Now in
        support of same, Respondent respectfully submits this supporting brief.

                  I.          Pertinent Legal Questions And Relevant Authorities

            a. Why Does Petitioner Believe A Nunc Pro Tunc Order Is Needed
               For The Previous Order To Be “Compliant With MCR 3.706”?

         Both of Petitioner’s recent pleadings (July 30, 2015 & August 12, 2015) indicate

 Petitioner’s full awareness that the December 17, 2013 written order cannot extend, modify or

 amend the original PPO. As Petitioner stated, “information necessary pursuant to MCR 3.706 is

 absent.” However, Petitioner’s dilemma only arises at this later date because she has

 mischaracterized the nature and the scope of the December 17, 2013 Order and claim that it is a

 “continuance” of the PPO— well beyond the initial expiration date. As noted in Respondent’s

 motion, Petitioner is really attempting to extort an “extension” without the required evidence to

 support same.



                                                                                            pg 1 of 4
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           MCR 3.707 governs the modification, termination or extension of personal protection

 orders. In fact, MCR 3.707(B)(1) clearly outlines the deadlines and process for a request to

 extend the effectiveness of the order. If “the expiration date on a personal protection order is

 extended, an amended order must be entered.” MCR 3.707(B)(2). The newly amended order

 must reflect the essential elements described in MCR 3.706 (such as an expiration date stated

 plainly on the face).

           Petitioner takes great liberty when she suggests that the Court must bring an order “into

 compliance with MCR 3.706”; and that this should be taken care of without a hearing (Nunc Pro

 Tunc). Equally offensive is the characterization of Petitioner’s relief as merely correcting a

 clerical error, or supplying an omission in the record.

b. The Clearly Stated Requirements of MCR 3.707 Preserve Safety & The Public’s Interest

     While “the procedural safeguards employed under the [PPO] statute are sufficient
  to meet [a] due process challenge.” Kampf, 237 Mich App at 384, the statutes and court rules
 regarding PPO proceedings ensure clarity regarding nature of the PPO and the obligations of
 Law Enforcement. Confusion in this regard puts victims and police officers in danger, while
 also undermining the public confidence in public officials. Further, “When personal protection
 orders are allowed to be misused because of careless wording or otherwise, then the law is
 correspondingly undermined because it loses the respect of citizens that is important to the
 effective operation of our justice system.” People v. Freeman, 240 Mich App 235, 612 NW2d 824
 (2000).


     The caption of the December 17, 2013 indicates the narrow focus of the hearing on

 November 26, 2013. Petitioner knows that extension of the PPO was not even contemplated at

 this hearing. To achieve her desired result, Petitioner must isolate a single phrase from the

 entirety of the record. Petitioner has essentially asked this Court to do the same while ignoring

 the procedural requirements.




                                                                                              pg 2 of 4
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       c. The oral record reflects this Court’s intent with clarity and consistency.

       When confronted with this Court’s clear statements on the record of these proceedings,

    Petitioner claims that these declarations are “irrelevant” and “out of context.” Petitioner

    repeatedly asserts that the Court speaks only through written orders while Respondent argues

    that these clear and consistent statements ARE the context.

           The determinative factor in interpreting a judgment is the intention of the court, as
           gathered, not from an isolated part thereof but from all parts of the judgment itself.
           When construing written judgments, courts consider the circumstances present at the
           time of entry and do not consider the meaning of particular provisions of the
           judgment in isolation but in the context of the whole judgment. .. . [46 Am Jur 2d,
           Judgments, § 74.]

  d. An oral ruling can sometimes have the same weight and effect as a written order.

           …it is a settled maxim that courts generally speak through their judgments and
           decrees, and not their oral statements or written opinions. Tiedman v. Tiedman, 400
           Mich. 571, 576, 255 N.W.2d 632 (1977). However, there are circumstances in which
           "[a]n oral ruling has the same force and effect as a written order," as when, for
           example, an oral ruling clearly communicates the finality of the court's
           pronouncement.McClure v. H.K. Porter Co., 174 Mich.App. 499, 503, 436 N.W.2d
           677 (1988). See alsoPeople v. Kennebrew, 220 Mich.App. 601, 607, 560 N.W.2d 354
           (1996). When assessing whether an oral ruling has equal effect to that of a written
           order, we consider whether the oral ruling contains indicia of formality and finality
           comparable to that of a written order. SeePeople v. Vincent, 455 Mich. 110, 125, 565
           N.W.2d 629 (1997) ARBOR FARMS v. GeoStar Corp., 853 N.W.2d 430 (Mich. Ct. App.
           2014)

   e. The Court may find that the January 23, 2014 oral ruling meets this standard.

       THE COURT: Well, I think by virtue of the decision that this Court reached, and whether
       you agree or not, that's certainly your prerogative, but by virtue of simply the idea that
       the term of the order was modified indicates that there was some arguable merit.
          That I made a decision based upon that merit to shorten the term of the PPO's existence
       in a sense--we're being very particular and very specific--Mr. Rudd did receive some
       relief as he was seeking here. There was a modification.

                        See Exhibit C.      Meyers v Rudd - January 23, 2014 Hearing on Costs

               f.   A Supreme Court Ruling Which (possibly) Contemplates
                            Some Comparable Legal Questions.




                                                                                            pg 3 of 4
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           NOTE: Respondent is clearly out of his depth on the complexities of this ruling from the
           Supreme Court, but respectfully submits these excerpts only if the Court is inclined to
           review them.

                  This case concerns the interpretation of 28 U. S. C. § 1450,[1] which provides in
                  pertinent part: "Whenever any action is removed from a State court to a district
                  court ofthe United States ... [a]ll injunctions, orders, and other proceedings had
                  in such action prior to its removal shall remain in full force and effect until
                  dissolved or modified by the district court." .. .The court rejected petitioners'
                  contention that the life ofthe order was indefinitely prolonged by § 1450 "until
                  dissolved or modified by the district court," holding that the purpose of that
                  statute "is to prevent a break in the force of an injunction or a restraining order
                  that could otherwise occur when jurisdiction is being shifted," 472 F. 2d, at 767,
                  not to "create a special breed of temporary restraining orders that survive beyond
                  the life span imposed by the state law from which they spring and beyond the life
                  that the district court could have granted them had the orders initiated from the
                  federal court." Id., at 766. Granny Goose Foods, Inc. v. Teamsters, 415 U.S. 423, 94
                  S. Ct. 1113, 39 L Ed. 2d 426 (1974).

                  But while Congress clearly intended to preserve the effectiveness of state court
                  orders after removal, there is no basis for believing that § 1450 was designed to
                  give injunctions or other orders greater effect after removal to federal court than
                  they would have had if the case had remained in state court. After removal, the
                  federal court "takes the case up where the State court left it
                  off." Duncan v. Gegan, 101 U. S. 810, 812 (1880). The "full force and effect"
                  provided state court orders after removal ofthe case to federal court was not
                  intended to be more than the force and effect the orders would have had in state
                  court. Id. at 436

                                           IL Conclusion:

   This Court should grant declaratory relief so that the written orders ofthe Court align with the

   consistent rulings and detenninations that this Court has placed on the record. Petitioner

   incorrectly suggests that the December 17,2013 order must be brought "into compliance with

   MCR 3.706"; and falsely states that this Court intended to triple the term of her PPO.

           Respondent instead presumes that "the Court knows the law." The December 17,2013

   order was not defective. When construed in harmony and consistency with the record as a

   w h o l e ; t h e r e i s n o c o n fl i c t w i t h s t a t u t e o r c o u r t r u l e . / N . /

       Date: |Op*|3«lf Respectfully Submitted, \ C -\ [J vA/ \ ^^J\
                                       Dani^WUnam Rudd, Respondent, In Pro Per


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